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7 Counsel for Lead Plaintiff City of Providence

8 [Additional Counsel on Signature Page]

9                             UNITED STATES DISTRICT COURT

10                         NORTHERN DISTRICT OF CALIFORNIA

11
   IN RE ORACLE CORPORATION              )        Lead Case No. 5:19-cv-00764-BLF
12 STOCKHOLDER DERIVATIVE                )
   LITIGATION                            )        JOINT STATUS REPORT
13                                       )
   This Document Relates to:             )        Judge: Beth L. Freeman
14                                       )        Date First Action Filed: Feb. 12, 2019
   ALL ACTIONS                           )
15                                       )
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     JOINT STATUS REPORT
     LEAD CASE NO. 5:19-CV-00764-BLF
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1          On February 21, 2024, the Court entered an Order (Dkt. No. 82) requesting that Lead
2 Plaintiff City of Providence (“Lead Plaintiff”) file a motion for preliminary approval of settlement

3 or a further joint status report regarding the motion for preliminary approval of settlement between

4 Lead Plaintiff, Nominal Defendant Oracle Corporation (“Oracle”), and Defendants Lawrence J.

5 Ellison, Safra A. Catz, and Paula R. Hurd, as trustee of the Hurd Family Trust (the “Defendants”

6 and, together with Oracle and Lead Plaintiff, the “Parties”), on or before March 22, 2024.

7          The Parties are pleased to report they have successfully completed negotiations and executed
8 a stipulation of settlement. Lead Plaintiff anticipates it will be able to file a motion for preliminary

9 approval of settlement on or before April 5, 2024.

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     Dated: March 22, 2024                                 COTCHETT PITRE McCARTHY LLP
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12
                                                           By: /s/ Tyson C. Redenbarger
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22                                                             Attorneys for Lead Plaintiff City of
                                                               Providence
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     LEAD CASE NO. 5:19-CV-00764-BLF
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1
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14                                               Corporation
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     JOINT STATUS REPORT
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1                                      SIGNATURE ATTESTATION

2          I, Tyson C. Redenbarger, am the ECF user whose identification and password are being used
3 to file the foregoing Joint Status Report. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that

4 concurrence in the filing of this document has been obtained.

5
     Dated: March 22, 2024                                 COTCHETT PITRE McCARTHY LLP
6

7
                                                           By: /s/ Tyson C. Redenbarger
8                                                             Tyson C. Redenbarger
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     JOINT STATUS REPORT
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